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Attorneys for Defendants
7| HARVEST KING TRADING USA, LIMITED,
THOMAS JAU and PAK LAM

9 UNITED STATES DISTRICT COURT

10 CENTRAL DISTRICT OF CALIFORNIA
11

12 COASTAL CORPORATION LTD. Case No. 2:22-CV-02687-DEF-JEM

13 Plaintiff,
V.

14 PROOF OF SERVICE
HARVEST KING TRADING USA,

15 | LIMITED, a California corporation,
THOMAS JAU, an individual aka TOM
16 || JAU; LAM, an individual; PAK LAM,
an individual; DOES 1 through 10,

17] inclusive,

18 Defendants.
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ATTORNEYS AT LAW

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PROOF OF SERVICE

 

 
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PROOF OF SERVICE
1 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
Coastal Corporation Ltd. v. Harvest King Trading USA, Limited, et al.
2 Case No. 2:22-cv-02687-DSF-JEM
3

I am employed in the County of Los Angeles, State of California. I am over the age of eighteen
4 (18) and not a party to the within action. My business address is 280 South Beverly Drive, Suite 504,
Beverly Hills, California 90212. On January 20, 2023, I served the forgoing document(s), described as:

1. NOTICE OF MOTION AND MOTION TO WITHDRAWAL AS COUNSEL OF RECORD

6 FOR DEFENDANTS HARVEST KING TRADING USA, LIMITED, THOMAS JAU AND
PAK LAM; AND

7

2. DECLARATION OF LAWRENCE C. ECOFF IN SUPPORT OF MOTION TO
8 WITHDRAWAL AS COUNSEL OF RECORD FOR DEFENDANTS HARVEST KING
TRADING USA, LIMITED, THOMAS JAU AND PAK LAM

9
on all interested parties to this action, as follows:
10
ij Xl BY MAIL: By placing LU the original X| a true and correct copy of said document(s) in a sealed

envelope(s) addressed as set forth on the service list herein, sealing it, and placing it for collection
and mailing following ordinary business practices. I am readily familiar with the business’ practice
of collection and processing correspondence for mailing with the United States Postal Service
(USPS). Under that practice, it would be deposited with the USPS in Beverly Hills, California, on
that same day with postage thereon fully prepaid in the ordinary course of business. I am aware that
on motion of party served, service is presumed invalid if postal cancellation date or postage meter
date is more than one day after date of deposit for mailing in affidavit.

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CL) BY OVERNIGHT MAIL: By placing a true and correct copy of said document(s) in an

envelope(s) designated by an express service carrier for overnight delivery, with delivery fees and
16 postage prepaid, addressed as set forth on the service list herein, sealing it, and causing it to be
7 deposited on that same day in a box or other facility regularly maintained by the carrier.
L] BY PERSONAL SERVICE: By placing a true and correct copy of said document(s) in an
18 envelope(s) addressed as set forth on the service list herein, sealing it, and delivering by hand to the
19 addressee(s).

(] BY EMAIL: Under statute, rule or court order, or by agreement, by emailing said document(s) to
20 the person(s) as set forth on the service list herein.

1 () BY FACSIMILE: Under statute, rule or court order, or by agreement, by faxing said document(s)
to the person(s) as set forth on the service list herein.

221 ( BY NOTICE OF ELECTRONIC FILING (“NEF”): Pursuant to controlling General Order(s)
said document(s) will be served by the Court via NEF and hyperlink to the document(s) or by
23 electronically filing the document(s) on the Court’s ECF system.

24 || 1 STATE: I declare under penalty of perjury under the laws of the State of California that
the foregoing is true and correct.

25

{] FEDERAL: | declare under penalty of perjury under the laws of the UNITED STATES OF
26 AMERICA that the foregoing is true and correct.
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AT LAW

 

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SERVICE LIST:

Thomas Jau
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Arcadia, CA 91007

Pak Lam

725 W. Duarte Road, #1581
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DATED: January 20, 2023

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Harvest King Trading USA, Limited
Attn: Thomas Jau

725 W. Duarte Road, #1581
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/s/ Jennifer Yoon
Jennifer Yoon

 
